Case 0:22-cv-60247-CMA Document 1 Entered on FLSD Docket 02/03/2022 Page 1 of 12



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION


  ANTONIO FORD,

                          Plaintiff,
                                                              CASE NO. _______________
                   v.
                                                              JURY TRIAL DEMANDED
  WASTE PRO OF FLORIDA, INC.,

                         Defendant.


                                        ORIGINAL COMPLAINT

            Plaintiff, Antonio Ford, by and through undersigned counsel, sues Defendant Waste Pro of

  Florida, Inc., (“Waste Pro”), to recover compensation, liquidated damages, and attorneys’ fees and

  costs pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §§ 201-219.

                                             INTRODUCTION

            1.     Plaintiff files this individual lawsuit to continue litigating claims against Waste Pro

  after the previous collective action Plaintiff opted in to was decertified. See Anthony Wright, individually

  and on behalf of others similarly situated, v. Waste Pro USA, Inc., and Waste Pro Florida, Inc., Case No. 0:19-

  cv-62051-KMM, D.E. 291 (S.D. Fla. Jan. 11, 2022). Per the decertification order from the Southern

  District of Florida, Plaintiff was granted twenty-one days of tolling of Plaintiff’s statute of limitations

  period.

            2.     The FLSA is designed to eliminate “labor conditions detrimental to the maintenance

  of the minimum standard of living necessary for health, efficiency and general well-being of

  workers.” 29 U.S.C. § 202(a). To achieve its purposes, the FLSA requires three things. First, the

  FLSA requires payment of minimum wages. 29 U.S.C. § 206(a). Second, the FLSA requires overtime

  pay for covered employers whose employees work in excess of 40 hours per workweek. 29 U.S.C.




                                                        1
Case 0:22-cv-60247-CMA Document 1 Entered on FLSD Docket 02/03/2022 Page 2 of 12



  207(a). And third, the FLSA establishes minimum recordkeeping requirements for covered

  employers. 29 U.S.C. § 211(a); 29 U.S.C § 516.2(a)(7).

          3.      Plaintiff is a Waste Disposal Driver for the Defendant who was paid on a purported

  job/day rate for work performed. Due to Defendant’s company-wide policies and procedures,

  Plaintiff was deprived of complete overtime wages for all overtime hours actually worked.

  Specifically, Defendant did not pay a true day rate for any and all hours worked in a given day, but

  placed limitations on the number of hours worked before the “day rate” was paid. Additionally,

  Defendant paid annual and three year non-discretionary bonuses, but failed to include these bonuses

  in the calculation of the regular rate for overtime purposes. Therefore, Defendant violated the

  FLSA in both its calculation of the prevailing regular rate and by only paying Plaintiff “half-time” for

  all hours worked over forty (40) in a given workweek.

          4.      Anthony Wright, along with two other drivers from South Carolina and North

  Carolina, originally filed a Class / Collective Action Complaint in the District of South Carolina to

  vindicate their FLSA rights against Defendants and two other Waste Pro entities on October 2,

  2017, which was later amended on October 31, 2017 and December 5, 2017. See Anthony Wright,

  Daniel Hansen, and Kenneth Privette v. Waste Pro USA, Inc., Waste Pro of Florida, Inc., Waste Pro of South

  Carolina, Inc., and Waste Pro of North Carolina, Inc., Case No. 2:17-cv-2654-DCN, D.E. 1, 5 and 30-2

  (D.S.C.) (the “South Carolina Action”).

          5.      Numerous other drivers from Florida also filed consents to join the South Carolina

  Action over the last two years.

          6.      Plaintiff originally consented to join the South Carolina Action on December 12,

  2017.

          7.      On July 25, 2019, after significant motion practice between the parties in the South

  Carolina Action, the District of South Carolina dismissed Waste Pro USA, Inc., and Waste Pro of



                                                      2
Case 0:22-cv-60247-CMA Document 1 Entered on FLSD Docket 02/03/2022 Page 3 of 12



  Florida, Inc., as well as the driver plaintiffs who worked for those entities in Florida, for lack of

  personal jurisdiction. Wright and those opt-in plaintiffs who originally joined the South Carolina

  Action against Defendants filed a subsequent, continuing action to pursue their FLSA rights against

  Waste Pro USA, Inc., and Waste Pro of Florida, Inc., in the Southern District of Florida on August

  15, 2019, which was amended on October 2, 2019. See Anthony Wright v. Waste Pro USA, Inc., and

  Waste Pro of Florida, Inc., Case No. 0:19-cv-62051-KMM, D.E. 1, 37 (S.D. Fla.) (the “Wright Action”)

             8.       On December 22, 2020, the court granted conditional certification and permitted

  notice to potential class members in the Wright Action. [Wright Action, D.E. 148].

             9.       Plaintiff filed a consent to join the Wright Action on August 30, 2019. [Wright

  Action, D.E. 12-1].

             10.      On January 11, 2022, the court in the Wright Action decertified the collective,

  dismissing the claims of the Opt-In Plaintiffs without prejudice and tolling the statute of limitations

  for twenty-one days in order for Opt-in Plaintiffs to refile their claims. [Wright Action, D.E. 291].

             11.      The FLSA claim of Plaintiff who originally joined the South Carolina Action and the

  Wright Action against Defendant has been tolled as a result of joining the South Carolina action and

  the Wright Action.1

                                                    THE PARTIES

             12.      Plaintiff is an individual who worked at Waste Pro’s facility in Pembroke Pines,

  Florida within the relevant three-year period.

             13.      Defendant Waste Pro of Florida, Inc. (“Waste Pro”) is a Florida Corporation that

  operates and conducts business within this District. Defendant Waste Pro Florida is a covered

  employer under the FLSA and acted as such in relation to Plaintiff.

                            SUBJECT MATTER JURISDICTION AND VENUE


  1   Plaintiff intends to seek equitable and/or statutory tolling of these claims if necessary.


                                                             3
Case 0:22-cv-60247-CMA Document 1 Entered on FLSD Docket 02/03/2022 Page 4 of 12



          14.     This Court has subject matter jurisdiction over the FLSA claim pursuant to 28 U.S.C.

  § 1331 as this is an action arising under 29 U.S.C. §§ 201, et. seq.

          15.     This Court has general and specific personal jurisdiction over Waste Pro because the

  cause of action arose within this District as a result of Waste Pro’s conduct within this District and

  because Waste Pro is headquartered in Florida and organized under Florida law.

          16.     Venue is proper in this District because Plaintiff performed work for Defendant

  within this District.

          17.     Specifically, Waste Pro has maintained a working presence throughout Broward

  County, Florida.

          18.     Venue is proper in this District pursuant to 28 U.S.C. § 1391.

                                            FLSA COVERAGE

          19.     At all material times, Defendant has been an employer within the meaning of section

  203(d) of the FLSA, which is defined to include any person acting directly or indirectly in the

  interest of an employer in relation to an employee. 29 U.S.C. § 203(d).

          20.     At all material times, Defendant has been an enterprise in commerce or in the

  production of goods for commerce within the meaning of section 203(s)(l) of the FLSA because

  Defendant has had and continues to have employees engaged in commerce. 29 U.S.C. § 203(s)(1).

          21.     At all material times, Plaintiff is (or was) an employee who engaged in commerce or

  in the production of goods for commerce as required by sections 206 and 207 of the FLSA. 29

  U.S.C. §§ 206–07.

          22.     At all material times, Defendant had, and continues to have, an annual gross business

  volume in excess of the statutory standard of $500,000.00.

          23.     During Plaintiff’s employment, Defendant employed at least two employees who

  handled goods, materials and supplies which travelled in interstate commerce, such as the waste



                                                       4
Case 0:22-cv-60247-CMA Document 1 Entered on FLSD Docket 02/03/2022 Page 5 of 12



  disposal trucks and other items used to run the business.

            24.   Therefore, at all material times relevant to this action, Defendant Waste Pro of

  Florida, Inc., was an enterprise covered by the FLSA, and as defined by 29 U.S.C. §§ 203(r) and

  203(s).

                                           WAGE VIOLATIONS

            25.   Waste Pro violated the FLSA by failing to pay Plaintiff time and one-half for each

  hour worked in excess of 40 hours per workweek.

            26.   Further, Waste Pro improperly calculated Plaintiff’s regular rate resulting in further

  miscalculation of Plaintiff’s overtime pay. Specifically, Plaintiff should have received overtime

  compensation at a rate not less than one and one-half times the true regular rate, calculated to

  include all non-discretionary bonuses.

            27.   Plaintiff was paid under a purported day rate plan—that is, he was supposed to be

  paid for each day worked regardless of the number of hours worked each day. See 29 C.F.R. §

  778.112.

            28.   Waste Pro violated the day rate regulation in a number of different ways.

            29.   It was Waste Pro’s policy and practice to not pay its Waste Disposal Drivers,

  including Plaintiff, their day rate if they did not work a full day. This is a blatant violation of the day

  rate provision of 29 C.F.R. § 778.112. Indeed, a day rate plan can only be valid if an employee is paid

  a flat sum for a day’s work without regard to the number of hours worked in the day. 29 C.F.R.

  § 778.112 (emphasis added). Because Waste Pro’s purported day rate was intended to, and did, cover

  a set number of hours worked for the day, Plaintiff was not paid under a true “day rate” plan and

  Waste Pro cannot avail itself of such a pay system.

            30.   Throughout the statutory period, Waste Pro at times tied their “day rates” to an eight

  hour working day and utilized a “half rate” for individuals who worked less than four (4) hours in a



                                                      5
Case 0:22-cv-60247-CMA Document 1 Entered on FLSD Docket 02/03/2022 Page 6 of 12



  day.

           31.   At all times relevant to this action, Defendant failed to comply with the FLSA

  because Plaintiff performed services for Defendant for which no provisions were made by

  Defendant to properly pay Plaintiff for all hours worked or at the correct prevailing rate.

                                         STATEMENT OF FACTS

  A.       Plaintiff Was a Waste Disposal Driver for Waste Pro

           32.   Waste Pro provides waste disposal and recycling services to residential and

  commercial clients throughout the state of Florida.

           33.   Plaintiff drove an assigned route to collect and dispose of residential or commercial

  waste and/or recyclable materials for Defendant’s customers.

           34.   Plaintiff was classified as a non-exempt employee under the FLSA.

           35.   Plaintiff was employed as a non-exempt Waste Disposal Driver at Waste Pro’s

  facility in Pembroke Pines, Florida.

           36.   On information and belief Plaintiff was compensated on a job/day rate determined

  by the number of hour worked in a day until the practice was phased out by Defendants in or

  around the end of July 2017.

           37.   Plaintiff did not receive the proper amount of overtime compensation for all hours

  worked in excess of forty (40) hours per workweek. See supra.

           38.   None of the FLSA exemptions relieving a covered employer of the statutory duty to

  pay employees overtime at one and one-half times the regular rate of pay apply to Defendant or

  Plaintiff.

           39.   During Plaintiff’s employment with Waste Pro, Plaintiff did not cross state lines in

  performing the job duties assigned by Waste Pro.




                                                     6
Case 0:22-cv-60247-CMA Document 1 Entered on FLSD Docket 02/03/2022 Page 7 of 12




  B.        Defendant did not pay Plaintiff overtime in accordance with the FLSA.

            40.   Plaintiff was required to work overtime hours when requested by Defendant, and

  was subject to potential disciplinary action for refusing to work overtime.

            41.   Plaintiff regularly worked over forty (40) hours in a workweek as a Waste Disposal

  Driver.

            42.   Defendant compensated Plaintiff on a purported job/day rate.

            43.   Defendant would only pay a “day rate” to Plaintiff if a preset number of hours per

  day was worked. If the designated number of hours were not worked by Plaintiff, then he did not

  receive the full “day rate.” This is a blatant violation of the day rate provision of 29 C.F.R. §

  778.112.

            44.   Indeed, a day rate plan can only be valid if an employee is paid a flat sum for a day’s

  work without regard to the number of hours worked in the day. 29 C.F.R. § 778.112 (emphasis

  added). Because Plaintiff was not paid a flat sum for a day’s work without regard to the number of

  hours worked in the day, he was not paid under a true “day rate” plan, and Waste Pro cannot avail

  itself of such a pay system.

            45.   Defendant’s calculation of Plaintiff’s regular rate of pay does not comply with the

  FLSA.

            46.   Defendant paid Plaintiff one-half of the regular rate of each hour worked over 40

  hours in a workweek.

            47.   Defendant paid Plaintiff a purported day rate, plus other forms of compensation for

  services.

            48.   Plaintiff regularly worked over forty (40) hours in a workweek as a Waste Disposal

  Driver.

            49.   The FLSA requires non-exempt employees, like Plaintiff, to be compensated for



                                                     7
Case 0:22-cv-60247-CMA Document 1 Entered on FLSD Docket 02/03/2022 Page 8 of 12



  overtime work at the mandated overtime pay rate.

          50.    Plaintiff was entitled to receive time and one-half compensation for all hours worked

  over forty (40) hours in a workweek.

          51.    The payment scheme used by the Defendant to pay Plaintiff did not comply with the

  FLSA.

          52.    Defendant violated the FLSA by failing to pay Plaintiff time and one-half for each

  hour worked in excess of forty (40) hours per workweek.

          53.    As Defendant’s employee, Plaintiff was subjected to the same or a substantially

  similar payment scheme, as described above.

       COUNT I – RECOVERY OF OVERTIME COMPENSATION (29 U.S.C. § 207)

          54.    Plaintiff incorporates by reference the above paragraphs as though fully and

  completely set forth herein.

          55.    Defendant’s practice of failing to pay Plaintiff time-and-a-half rate for hours in

  excess of forty (40) per workweek violates the FLSA. 29 U.S.C. § 207.

          56.    None of the exemptions provided by the FLSA regulating the duty of employers to

  pay overtime at a rate not less than one and one-half times the regular rate at which its employees

  are employed are applicable to Defendant or Plaintiff.

          57.    Defendant failed to keep adequate records of the Plaintiff’s work hours and pay in

  violation of section 211(c) of the FLSA. 29 U.S.C. § 211(c).

          58.    Federal law mandates that an employer is required to keep for three (3) years all

  payroll records and other records containing, among other things, the following information:

          a.     The time of day and day of week on which the employees’ work week begins;

          b.     The regular hourly rate or pay for any workweek in which overtime compensation is
                 due under Section 7(a) of the FLSA;

          c.     An explanation of the basis of pay by indicating the monetary amount paid on a per


                                                   8
Case 0:22-cv-60247-CMA Document 1 Entered on FLSD Docket 02/03/2022 Page 9 of 12



                  hour, per day, per week, or other basis;

          d.      The amount and nature of each payment which, pursuant to section 7(e) of the
                  FLSA, is excluded from the “regular rate”;

          e.      The hours worked each workday and total hours worked each workweek;

          f.      The total daily or weekly straight time earnings or wages due for hours worked
                  during the workday or workweek, exclusive or premium overtime compensation;

          g.      The total premium for overtime hours. This amount excludes the straight-time
                  earnings for overtime hours recorded under this section;

          h.      The total additions to or deductions from wages paid each pay period including
                  employee purchase orders or wage assignments;

          i.      The dates, amounts, and nature of the items which make up the total additions and
                  deductions;

          j.      The total wages paid each pay period; and

          k.      The date of payment and the pay period covered by payment.

  29 C.F.R. §§ 516.2, 516.5.

          59.     Defendant has not complied with federal law and has failed to maintain such records

  with respect to Plaintiff. Because Defendant’s records are inaccurate and/or inadequate, Plaintiff

  can meet this burden under the FLSA by proving that he, in fact, performed work for which he was

  improperly compensated, and produce sufficient evidence to show the amount and extent of the

  work “as a matter of a just and reasonable inference.” See, e.g., Anderson v. Mt. Clemens Pottery Co., 328

  U.S. 680, 687 (1946).

          60.     Defendant’s failure to properly compensate Plaintiff at a rate of at least one and one-

  half times the regular rate of pay for all hours worked in excess of forty (40) hours in a workweek,

  results from Defendant’s purported day rate payment policy or practice.

          61.     Defendant knowingly, willfully, or with reckless disregard carried out its illegal

  pattern or practice of failing to pay overtime compensation correctly with respect to Plaintiff.




                                                      9
Case 0:22-cv-60247-CMA Document 1 Entered on FLSD Docket 02/03/2022 Page 10 of 12



         62.     Specifically, despite the fact that numerous Waste Disposal Drivers brought

  Defendant’s aforementioned illegal policies and FLSA violations to Defendant’s attention

  throughout their employment, Defendant refused to pay Plaintiff the proper amount of

  compensation as required by the FLSA.

         63.     Defendant did not act in good faith or reliance upon any of the following in

  formulating their pay practices: (a) case law, (b) the FLSA, 29 U.S.C. § 201, et seq., (c) Department

  of Labor Wage & Hour Opinion Letters or (d) the Code of Federal Regulations.

         64.     Accordingly, Plaintiff brings this cause of action under section 216(b) of the FLSA,

  which allows the recovery of all unpaid overtime compensation to which Plaintiff is entitled, but has

  not been paid, for the 3-year period preceding the filing of Plaintiff’s first consent to join as

  described above through the final disposition of this matter. 29 U.S.C. § 216(b).

         65.     Plaintiff contends that Defendant’s conduct in violating the FLSA is willful.

  Accordingly, Plaintiff seeks recovery of all unpaid overtime compensation to which he is entitled,

  but has not been paid, for the three years preceding the filing of Plaintiff’s first consent to join as

  described above through the final disposition of this matter. 29 U.S.C. § 216(b).

         66.     Due to the willful nature of Defendant’s conduct, Plaintiff seeks to recover, as

  liquidated damages, an amount equal to unpaid overtime wages for the 3-year period preceding the

  filing of Plaintiff’s first consent to join as described above through the final disposition of this

  matter—that is, the same period for which unpaid overtime damages are sought. 29 U.S.C. § 216(b).

                                       PRAYER FOR RELIEF

         Plaintiff respectfully requests that this Court enter judgment against the Defendant as

  follows:

         a.      For an Order equitably tolling the claims of Plaintiff who previously filed a consent

                 to join form in the South Carolina Action and the Wright Action.



                                                    10
Case 0:22-cv-60247-CMA Document 1 Entered on FLSD Docket 02/03/2022 Page 11 of 12



        b.     For a declaratory judgment that Defendant has willfully and in bad faith violated the

               overtime wage provisions of the FLSA, and has deprived Plaintiff of Plaintiff’s right

               to such compensation;

        c.     For an Order requiring Defendant to provide a complete and accurate accounting of

               all overtime wages to which Plaintiff is entitled;

        d.     For an Order awarding Plaintiff back wages that have been improperly withheld;

        e.     For an Order pursuant to Section 16(b) of the FLSA finding Defendant liable for

               unpaid back wages due to Plaintiff, and for liquidated damages equal in amount to

               the unpaid compensation found due to Plaintiff;

        f.     For an Order awarding Plaintiff the costs of this action;

        g.     For an Order awarding Plaintiff attorneys’ fees;

        h.     For an Order awarding Plaintiff pre-judgment and post-judgment interest at the

               highest rates allowed by law;

        i.     For an Order granting such other and further relief as may be necessary and

               appropriate.

        Dated this 3rd day of February, 2022.

                                                Respectfully submitted by:

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                                                  11
Case 0:22-cv-60247-CMA Document 1 Entered on FLSD Docket 02/03/2022 Page 12 of 12



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                                       12
